Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 1 of 47 PageID #: 229




                       EXHIBIT E
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 2 of 47 PageID #: 230




      IN THE COURT OF CHANCERY OF'THE STATE OF DELAWARE
THE NATIONAL COLLEGIATE                      )
STUDENT LOAN MASTE,R                         )
TRUST, et aI.,                               )
                                             )
               Plaintiffs                    )
                                             )
        V                                    )    Case   No. 1211I-VCS
                                             )
PENNSYLVANIA HIGHER                          )
EDUCATION ASSISTANCE                         )
AGENCY DIBIA AMERICAN                        )
EDUCATIONAL SERVICES,                        )
                                             )
               Defendant.                    )

     MOTION FOR             VE TO F'ILE OPPOSITION AS AMICUS CURIAE

        Non-Party GSS Data Services, Inc. ("GSSDS") hereby moves this Court for

authority to file the attached Opposition of Non-Party GSS Data Services, Inc. to

Plaintifß' Motion for Emergency Relief ("Opposition") as amicus curíae. In

support of this motion, GSSDS states the following:

                                   BACKGROUND

         1.    Plaintifß in the above-captioned action   are a series of trusts for which


GSSDS acts as the Administrator.

         2.    On September 22, 2017, Plaintiffs f,rled a Motion for         Emergency

Relief ("Motion"). The Motion requests that the purported Own.rst b. allowed to


t
    All defined terms not otherwise defined herein shall have the meaning set forth in
the Motion and the supporting Memorandum of Law.
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 3 of 47 PageID #: 231




take over the duties assigned to Wilmington Trust Company as Owner Trustee

under the Trust Agreements and execute Notices of Default directed to Servicers        of

the Trusts and the Administrator, GSSDS.

      3.    On September 18,2017,lhe Consumer Financial Protection Bureau

("CFPB") initiated an action in the United States District Court for the District of

Delaware against numerous Trusts entitled Consumer Financial Protection

Bureau, et al. v. National Collegiate Master Student Loan Trust, C.A. No. 17-1323

(GMS) ("CFPB Action"). Along with the filing of the Complaint, the CFPB and

the Trusts filed a proposed consent order containing purported "findings of fact"

that would, according to Plaintiffs, support their contention that various parties,

including the Servicers and the Administrator, had violated the terms of the Trust

Agreements ("Proposed Consent Order"). The "findings       of facl" contained in the

Proposed Consent Order are disputed.

      4.    Even   if the District Court enters the Proposed   Consent Order,    it is not

in any way clear that the Proposed     Consent Order, on       its face, would   cause a

default by the Administrator, or that any default by the Administrator led to the

"findings of fact" in the Proposed Consent Order. Plaintiffs have not explained the

causal nexus between the allegations in the Proposed Consent Order and any actual

breach of the Administration Agreement. In the breach notice attached to the

Motion, Plaintiffs simply list sections of the Administration Agreement that the
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 4 of 47 PageID #: 232




Administrator has purportedly violated and as the basis for each such violation

reference the Proposed Consent Order, without referencing or listing the specific

conduct by the Administrator that underlies such alleged violations.

      5.     The Proposed Consent Order was not negotiated with any of the other

parties to the Trust Agreements or parties having beneficial interests in the Trusts,

including the Noteholders. GSSDS became aware of the CFPB Action last week

and filed a letter with the District Court indicating its intent to file a motion to

intervene in the CFPB Action.

      6. In      addition   to   GSSDS, several other parties, including certain

Noteholders, have already filed motions to intervene in the CFPB Action.

                                       ARGUMENT

      7.     The decision to allow a non-party to participate as amicus curiae is

committed to the Court's discretion. See La. Mun. Pol. Employees ReL Sys. v The

Hershey Co.,2013 Del. Ch. LEXIS         121   , at *3 (Del. Ch. Apr. 16,2013);   James


Wm. Moore, et aI., MooRB's Fslnnel PRacrIcs ç 24.23121 (3dEd.2015 Supp.)

("4 court may allow a movant to participate as an amicus curiae      as an alternative

to intervention. Amicus status allows the movant to present legal argument ...").

A non-party may be afforded the opportunity to participate simply       'oto introduce

argument, authority or evidence to protect his interests." Giammalvo v. Sunshine

Míning Co.,644 A.zd 407,410 (Del. 1994).
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 5 of 47 PageID #: 233




      8.     GSSDS has information regarding the effects of the Motion on non-

parties and its relationship to other ongoing litigation that is germane to this

Court's determination of the Motion

      9.     GSSDS has no new claims to raise in the above-captioned matter

Plaintifß are seeking the unique relief of asking this Court to enforce a proposed

order, not yet entered by another Court, to which numerous parties object based on

ownership arguments still pending before this    Court. GSSDS has not taken        a


position on the ownership issue currently pending before this Court, however this

Motion is not just about the pending ownership issues, but rather seeks to support

and enforce a proposed order under consideration by another court. Most

importantly, the Motion seeks to confirm the substance of the Proposed Consent

Order before any of the affected parties have the opportunity to be heard in that

court and before the District Court has had the opportunity to rule on the requested

relief. Therefore, GSSDS should be allowed to participate in this matter as amícus

curiae solely with regard to the Motion. See Wier v. Howard Hughes Medical

Instítute, 404 A.2d 140, 146 (Del. Ch. 1979) ("Where he presents no new

questions,   a third party can contribute usually most effectively and most
expeditiously   by a brief amicus curiae and not by intervention.") (internal
quotation omitted).
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 6 of 47 PageID #: 234




                                   CONCLUSION

      For the foregoing reasons, GSSDS respectfully requests that this Court grant

GSSDS leave to file the attached Opposition to the Motion as amícus curiae




Dated: September 25, 2017             LANDIS RATH & COBB LLP

                                        /Ub
                                      Rebecca L. Butcher (1.{o. 3816)
                                      919 Market Street, Suite 1800
                                      Wilmington, Delaware 1 980 1
                                      Telephon e: (302) 467 -4400
                                      Facsimile : (302) 467 -4450
                                      Email: butcher@lrclaw.com


                                      Counsel to GSS Data Services, Inc

                                      \ryORDS z 822
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 7 of 47 PageID #: 235




     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
THE NATIONAL COLLEGIATE                         )
STUDENT LOAN MASTER                             )
TRUST, et al.,                                  )
                                                )
                   Plaintiffs                   )
                                                )
         v.                                     )   Case No. 12111-VCS
                                                )
PENNSYLVANIA HIGHER                             )
EDUCATION ASSISTANCE                            )
AGENCY D/B/A AMERICAN                           )
EDUCATIONAL SERVICES,                           )
                                                )
                   Defendant.                   )

           OPPOSITION OF NON-PARTY GSS DATA SERVICES, INC.
            TO PLAINTIFFS’ MOTION FOR EMERGENCY RELIEF

         Non-party GSS Data Services, Inc. (“GSSDS”) opposes the relief requested

in Plaintiffs’ Motion for Emergency Relief (“Motion”) to the extent it seeks to

usurp the authority of the United States District Court for the District of Delaware

(“District Court”) by having this Court enforce a proposed order not yet entered by

the District Court and deny the affected parties their due process rights before that

court. In support of this opposition GSSDS states the following:

                                    BACKGROUND

         1.       On September 22, 2017, Plaintiffs filed the Motion requesting that

they be allowed to circumvent the Owner Trustee’s refusal to send default notices

to the Servicers and the Administrator, GSSDS, by executing and sending such


{1110.002-W0048778.2}                       1
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 8 of 47 PageID #: 236




default notices directly.        (See Plaintiffs’ Memorandum of Law in Support of

Plaintiffs’ Motion for Emergency Relief (“Emergency Memo”) at 7).

         2.        GSSDS is the Administrator of the Trusts, which are the named

Plaintiffs in this action. GSSDS is not a party to this action. However, Plaintiffs

are seeking to have this Court force a default notice to be sent to GSSDS over the

objection of the Owner Trustee. Once such a default notice has been issued, the

purported Owners will seek to remove GSSDS as Administrator of the Trusts.

         3.        The alleged basis for the default notice are “findings of fact” admitted

by the Trusts in a proposed consent order (“Proposed Consent Order”) negotiated

between the purported Owners and the Consumer Financial Protection Bureau

(“CFPB”) filed with the District Court on September 18. See Consumer Financial

Protection Bureau, et al. v. National Collegiate Master Student Loan Trust, C.A.

No. 17-1323 (GMS) (“CFPB Action”).                  Plaintiffs apparently negotiated the

Proposed Consent Order in secret and did not permit the involvement of, among

others, the Owner Trustee.

         4.       The Proposed Consent Order does not contain affirmative allegations

of wrongdoing against GSSDS.              While the Proposed Consent Order includes

GSSDS within the definition of “Servicers,” and requires that Servicers take

certain remedial actions, GSSDS did not act as a servicer in connection with the




{1110.002-W0048778.2}                          2
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 9 of 47 PageID #: 237




Trusts. GSSDS intends to challenge the Proposed Consent Order on this basis,

among others.

         5.        Plaintiffs have not explained the causal nexus between the allegations

in the Proposed Consent Order and any actual breach of the Administration

Agreement. In the breach notice attached to the Motion, Plaintiffs simply list

sections of the Administration Agreement that the Administrator has purportedly

violated and as the basis for each such violation reference the Proposed Consent

Order, without referencing or listing the specific conduct by the Administrator that

underlies such alleged violations.

         6.        Notably, prior to initiation of the CFPB Action, the Owners directed

the Owner Trustee to execute the Proposed Consent Order as well, but the Owner

Trustee refused to “avoid violating the terms of the Trust Agreements” and as part

of the escalating conflicts between the purported Owners and the Owner Trustee

that culminated in the Owner Trustee’s resignation.             (See Wilmington Trust

Company’s Answering Brief in Opposition to the Purported Owners’ Motion for

Extension of Deadline for Appointment of Successor Owner-Trustee and for Other

Relief Consistent with the Trusts Agreements, at 9-10.)

         7.        The District Court has not entered the Proposed Consent Order.

         8.        Since the filing of the Proposed Consent Order, numerous parties with

interests in the Trusts have filed or indicated their intent to file motions to


{1110.002-W0048778.2}                          3
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 10 of 47 PageID #: 238




intervene in the CFPB Action for the purpose of objecting to the Proposed Consent

Order.

                                         ARGUMENT

         9.        GSSDS, therefore, submits this Statement in Opposition to the Motion

and the relief requested in it seeking to effectuate a Proposed Consent Order not

yet ruled on by the District Court.

         A.        Plaintiffs Have Not and Cannot Satisfy the Heightened Burden
                   Required for a Mandatory Injunction
         10.       Plaintiffs’ request for relief seeks to either order the Owner Trustee to

follow the purported Owners’ directions or to usurp the Owner Trustee’s authority

to issue default notices under the Trust Agreements. Plaintiffs seek to require the

issuance of notices of default against the Servicers and the Administrator based on

“findings of fact” contained in the Proposed Consent Order. This request falls well

short of the standard for such mandatory injunctive relief.

         11.       Plaintiffs have styled this Motion as a request for a temporary

restraining order. In order to establish a right to a temporary restraining order, the

movant must establish 1) the existence of a colorable claim, 2) the irreparable harm

that will be suffered if relief is not granted, and (3) a balancing of the hardships in

the favor of the moving party. Arkema, Inc. v. Dow Chem. Corp., 2010 Del. Ch.

LEXIS 120, at *11 (Del. Ch. May 13, 2010). However, where the moving party is



{1110.002-W0048778.2}                           4
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 11 of 47 PageID #: 239




seeking the relief that it would be entitled to after a full trial on the merits, then the

movant is held to a higher standard. Id. at *12.

         12.       Where the moving party seeks mandatory relief, i.e., an order

requiring the responding party to take affirmative action, then Delaware courts

require the moving party to clearly establish the legal right the movant seeks to

protect and that the material facts are not in substantial dispute. See id., see also

Stahl v. Apple Bancorp, Inc., 579 A.2d 1115, 1120 (Del. Ch. 1990). Plaintiffs’

Motion requests mandatory action regarding the issuance of default notices that

cannot be easily undone if it is later proven that the purported Owners were not

entitled to issue those notices. See Stahl, 579 A.2d at 1120. The stringent standard

for a mandatory injunction should be applied here.         See In re Real Estate, 2000

Del. Ch. LEXIS 185, *5 (Del. Ch. Nov. 9, 2000) (Glasscock, Master) (“The

analysis for a mandatory injunction is even more stringent than that for a

permanent injunction. A court will not grant a mandatory injunction unless a party

can clearly establish the legal right that party seeks to protect.” (quotation and

ellipsis omitted)). “This requires more than simply a showing of a reasonable

probability of success. . . . It requires, in addition, a showing that the petitioner is

entitled as a matter of law to the relief it seeks based on undisputed facts.” Alpha

Nat. Res., Inc. v. Cliffs Natural Res., Inc., 2008 WL 4951060, at *2 (Del. Ch. Nov.

6, 2008).


{1110.002-W0048778.2}                       5
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 12 of 47 PageID #: 240




         13.       Because of this heightened burden, Delaware courts are allowed to

impose a mandatory injunction only after the court holds a trial and makes findings

of fact, or on the basis of undisputed facts. C&J Energy Servs., Inc. v. City of

Miami Gen. Employees & Sanitation Employees’ Ret. Trust, 107 A.3d 1049, 1053-

54, 1071 (Del. 2014).

         14.       Plaintiffs have not requested a trial. Instead the Plaintiffs are asking

this Court to rule on these issues on three days’ notice based on the thinnest of

proffered explanations in a blatant effort to deny any party that may be affected by

the Proposed Consent Order the opportunity to be heard by any court.

         B.        The Purported Owners Have Not Established a Likelihood to
                   Succeed on the Merits

         15.       Plaintiffs ask this Court to accept as a basis for their likelihood to

succeed on the merits the “findings of fact” contained in the Proposed Consent

Order filed in the CFPB Action. Due to the Plaintiffs’ request for a mandatory

injunction they are not entitled to the more lenient colorable claim standard that

assumes facts alleged in the motion for a temporary restraining order as true.

Instead Plaintiffs must establish they are entitled to the requested relief based on

undisputed facts.

         16.       The “findings of fact” in the Proposed Consent Order on which

Plaintiffs seek to rely are not actual factual determinations made by a court after

notice and an opportunity to be heard by all affected parties. These are “findings

{1110.002-W0048778.2}                          6
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 13 of 47 PageID #: 241




of fact” that the purported Owners agreed to with the CFPB and placed in the

Proposed Consent Order (which coincidentally when entered arguably would give

the purported Owners the power to remove the Servicers, the Administrator and to

upend the financial structure of the Trusts.)

         17.       The purported Owners’ ability to enter into such a Proposed Consent

Order without the consent of Owner Trustee is disputed. The “findings of fact”

contained in the Proposed Consent Order are disputed. Numerous parties are filing

motions to intervene in the CFPB Action because of the disputes both over the

purported Owners’ ability to enter the Proposed Consent Order and the terms

contained within the Proposed Consent Order itself. See Motion to Intervene and

Opposition to Plaintiff’s Motion to Approve Consent Judgement filed by

Transworld Systems Inc. attached hereto as Exhibit A. GSSDS intends to file a

motion to intervene shortly as well.

         18.       Plaintiffs cannot demonstrate their ability to succeed on the merits

based on these contested facts that they agreed to with themselves. The CFPB

does not stand in the same position as the Servicers, Administrator, Noteholders or

any other party to the Trust Agreements. The CFPB’s willingness to agree to these

“facts” does not make these “facts” uncontested.

         19.       Further, even the alleged “findings of fact” do not support the relief

Plaintiffs seek – the issuance of a default notice to GSSDS. Plaintiffs have just


{1110.002-W0048778.2}                          7
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 14 of 47 PageID #: 242




baldly asserted that the Administrator has violated various provisions of the Trust

Agreements without pointing to any specific wrongful actions asserted against the

Administrator in the complaint in the CFPB Action or the Proposed Consent Order.

         20.       Plaintiffs are not requesting a temporary restraining order seeking to

maintain the status quo, but rather are asking for a mandatory injunction requiring

action to completely upend the status quo that cannot easily be undone if it is later

proven they had no authority to issue these notices of default. Plaintiffs cannot

base such a request for relief on disputed facts. Plaintiffs are not entitled to an

assumption that the “findings of fact” in the Proposed Consent Order are true.

Because Plaintiffs’ entire argument for establishing a colorable claim is based on

the assumption that the disputed “findings of fact” in the Proposed Consent Order

are true, Plaintiffs’ argument fails ab initio.

         C.        Plaintiffs Have Failed to Establish That the Trusts Will Be
                   Irreparably Harmed and that the Balance of the Equities Favor
                   Plaintiffs.

         21.       Plaintiffs’ assertion of irreparable harm is entirely speculative and

theoretical. As the threat of irreparable harm is central to a consideration of a

temporary restraining order, without a showing of irreparable harm Plaintiffs’

Motion must be denied.

         22.       To demonstrate irreparable harm, the alleged injury must be

“imminent and genuine as opposed to speculative.” Aquila Inc. v. Quanta Servs.


{1110.002-W0048778.2}                          8
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 15 of 47 PageID #: 243




Inc., 805 A.2d 196, 208 (Del. Ch. 2002). Plaintiffs have not alleged an imminent,

genuine injury. Plaintiffs even state the proposed risk of harm in speculative

terms: “the Trusts may be in breach,” “the Trusts may be unable to recover,” and

the “Indenture Trustee may institute proceedings.” (Emergency Memo at 13.)

         23.       Plaintiffs do not even assert that a breach will definitely occur on

Monday, just that it might occur. (See id.) These are not allegations of imminent,

irreparable harm.

         24.       Further, the Indenture Trustee is seeking direction from the

Noteholders whether to intervene in the CFPB Action and certain Noteholders

have already filed a motion to intervene opposing the relief requested in the

Proposed Consent Order. See Letter from U.S. Bank National Association to the

Honorable Gregory M. Sleet dated September 22, 2017 attached hereto as Exhibit

B and the Notice of Appearance by Objecting Noteholders and Request to

Intervene for the Limited Purpose of Objecting to the Proposed Consent Judgment

attached hereto as Exhibit C. Therefore, Plaintiffs’ purported imminent harm

based on the Indenture Trustee seeking to dissolve the Trusts based on the Trusts’

failure to enforce the Proposed Consent Order is not just speculative, but extremely

unlikely.

         25.       Also Plaintiffs fail to acknowledge that the potential for irreparable

harm is entirely of their own making. Because the purported Owners agreed to the


{1110.002-W0048778.2}                          9
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 16 of 47 PageID #: 244




entry of “findings of fact” with the CFPB, the Trusts now face irreparable harm if

it fails to deliver default notices based on those same “findings of fact.” Perhaps

the creation of just such a risk of harm is something that should have factored into

the purported Owners’ decision to enter into the Proposed Consent Order despite

the Owner Trustee’s refusal to do so.

         26.       Finally, the balance of the equities do not favor Plaintiffs. Plaintiffs

are asking this Court to act to enforce the terms of a Proposed Consent Order that

has not been entered by the District Court. GSSDS and other parties to the Trust

Agreements have legitimate disputes both with the purported Owners’ ability to

enter into the Proposed Consent Order and with its terms. The Proposed Consent

Order does not support the finding of any default by GSSDS. As mentioned

above, GSSDS disagrees with the fact that the Proposed Consent Order lists

GSSDS as a “Servicer” – even though it is not. If the requested relief is granted,

GSSDS will have received a notice of default under the Administration

Agreements, which, under certain circumstances, could result in GSSDS’ removal

as Administrator of the Trusts. Plaintiffs’ attempts to ram through a contested and

controversial order without due process or the opportunity of any of the affected

parties to be heard should not be supported by this Court in issuing an order to

enforce the Proposed Consent Order.




{1110.002-W0048778.2}                          10
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 17 of 47 PageID #: 245




                                   CONCLUSION

         For the foregoing reasons, GSSDS respectfully requests that this Court deny

the relief requested in the Motion in its entirety.

Dated: September 25, 2016                 LANDIS RATH & COBB LLP


                                                /s/Rebecca L. Butcher
                                          Rebecca L. Butcher (No. 3816)
                                          919 Market Street, Suite 1800
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 467-4400
                                          Facsimile: (302) 467-4450
                                          Email: butcher@lrclaw.com


                                          Counsel to GSS Data Services, Inc.

                                          WORDS: 2,240




{1110.002-W0048778.2}                      11
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 18 of 47 PageID #: 246




                      EXHIBIT A
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 19 of 47 PageID #: 247
     Case l":17-cv-01323-GMS Document            9   Filed 091221t7 Page 1 of 15 PagelD #: 83



                           IN THE UNITED STATES DISTRICT COURT
                               FORTHE DISTRICT OF DELAWARE

 Consumer Financial Protection Bureau,           )
                                                 )
                           Plaintiff,            )
                                                 )
 V                                               )
                                                 )          Civil Action No.: L:L7-cv-01323-GMS
 The National Collegiate Master Student          )
 LoanTrus|, et al.                               )
                                                 )
                           Defendants.           )


          TRANS\ryORLD SYSTEMS INC.'S MOTION TO INTERVENE
 AND OPPOSITION TO PLAINTIFF'S MOTION TO APPROVE CONSENT.IUDGMENT

         Pursuant to Federal Rule        of Civil Procedure 24, Intervenor Transworld Systems Inc'

 ("TSI") hereby moves to intervene and opposes the Motion to Approve Consent Judgment (D.I.
                                                                                 o'Bureau").
 3) filed by Plaintiff Consumer Financial Protection Bureau ("CFPB" or

                                            INTRODUCTION

         TSI is entitled to intervene in this action by right, and the Court should not approve the

 proposed Consent Judgment (D.I. 3-1) filed by the CFPB. The Proposed Consent Judgment

 directly and substantially implicates the rights and obligations of numerous interested parties,

 including TSI, and the Proposed Consent Judgment contemplates conduct that would harm

 consumers.

          On the same day that the Bureau filed and publicly announced the Proposed Consent

 Judgment, the Bureau also publicly announced that, in connection with a separate administrative

 proceeding,   it   had entered into a Consent Order with TSI; that Order was stipulated to by TSI and

 has an effective date of September       15,20t7.   See   In   the Matter of Transworld Systems,   Inc,File



                                                       t
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 20 of 47 PageID #: 248
  Case L:j.7-cv-01323-GMS Document 9 Filed O9l22lL7 Page 2 ot L5 PagelD #:84



No. 2017-CFPB-0018, Doc. L ("TSI Consent Order").l The TSI Consent Order requires TSI to

undertake certain tasks as part of prospective injunctive relief. The terms of the TSI Consent

Order are substantially inconsistent with the requirements of the Proposed Consent Judgment that

 the CFpB has submitted to the Court for approval. Approval of the Proposed Consent Judgment

 would put TSI in an untenable position, subjecting    it to two dueling and inconsistent consent

 orders: (1) the TSI Consent Order to which TSI is a party and which TSI negotiated in
                                                                                       good-faith


 with the Bureau, and (2) the Proposed Consent Judgment between the CFPB and fifteen NCSLT

 Trusts (,,Trusts"), to which TSI is not a party and only learned about on September           L8.   One


 glaring contradiction between the two orders is that the TSI Consent Order provides that TSI will

 provide certain reports and compliance plans to the "successor special servicer," which is U.S.

 Bank; the proposed Consent Judgment, however, includes a different reporting structure,

 apparently empowering the Trusts to oversee all Servicers, including TSI, in total disregard
                                                                                              of the

                                                                                             to the
 contractual relationships among the Trusts and servicing parties and in stark contradiction

 TSI Consent Order. This alone provides a basis for the Court to deny entry of the Proposed

 Consent Judgment.

         Moreover, there is a cloud of uncertainty surrounding the authority of McCarter &

 English, LLP, the law firm that signed the Proposed Consent Judgment, to enter into                  an


                                                                                        currently
 agreement on behalf of the Trusts. Issues relating to the Trusts' governance structure

                                                                                       Student
 are being litigated in the Delaware state and federal courts. See National Collegiate

                                                                                          No'
 Loan Master Trust et al. v. Pennsylvønia Higher Education Assistance Agency e/ ø/., Case

  I2¡IL (Del. Ch.); In re National Collegiate   Student Loan Trusts 2003-1 et   al.,   Case No. l":16-cv-




  r      Available    aI   http://files.consumerfinance.gov/f/documents/20L7O9-cfpb-transworld-
  systems-consent-order.Pdf
                                                   2
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 21 of 47 PageID #: 249
  Case l-:l-7-cv-0j-323-cMs Document 9 Filed O9l22lL7 Page 3 of 1-5 PagelD #: 85



 00341-JFB-SRF (D.    Del).   McCarter   &   English serves as counsel to VCG Securities, LLC

 (,,VCG,,) (though this is not disclosed anywhere on the Proposed Consent Order).2 VCG and its

 principal, Mr. Donald Uderitz, purportedly on behalf of the Trusts, have been mounting an

 aggressive campaign to install one of VCG's affiliates, Odyssey Education Resources LLC, as
                                                                                             a


 servicer for the Trusts. Tellingly, the very same day the CFPB filed its motion to enter the

 proposed Consent Judgment, VCG (purportedly on behalf of the Trusts) submitted a "notice of

 supplemental authority" in the parallel proceeding pending in this District involving the Trusts,

 citing the proposed Consent Judgment (which VCG's representatives signed) as grounds for

 appointing VCG's affiliate Odyssey as a servicer for the Trusts. S¿e Notice of Supplemental

 Authority, Case No. 16-34I-JFB-SRF, D.I.76 (Sept. 18,20L7). Now, VCG's counsel has signed

 a proposed Consent Judgment     with a federal regulatory agency, once again purporting to act on

 behalf of the Trusts. Entry of this Proposed Consent Judgment would enable VCG to appoint its

 own affiliates to undertake servicing work for the Trusts, and likely other actions that        are


 contemplated by the Proposed Consent Judgment, notwithstanding the fact that VCG's ability
                                                                                            to

                                                                                          pending in
 assert such control over the Trusts is highly contested and the subject of several cases

 Delaware federal and state courts.

         In addition, as discussed below, TSI will suffer substantial harm if the Proposed Consent

 Judgment is approved, as     it substantially   constrains TSI's ability to provide services for the

  NCSLT portfolio of loans. Moreover, entry of the Proposed Consent Judgment as written could

  cause consumer   harm. The contemplated cessation of collection efforts could significantly

  impact consumers in that it risks causing confusion to borrowers about the status of their debt,



  2      VCG and its affiliates have been represented by McCarter & English in at least one other
  Trust-related matter. See, e.g., Pennsylvania Higher Education Assistance Agency v. NC
                                                     J
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 22 of 47 PageID #: 250
  Case L:17-cv-01-323-cMs Document 9 Filed O9l22lL7 Page 4 of l-5 PagelD #: 86




while at the same time hamstringing TSI's ability to respond to borrower queries about their

NCSLT loans. Further, it is unclear whether interest will continue to accrue during the pending

Compliance Audit called for in the Proposed Consent Judgment, while collections are ceased;

this risks making consumer debt more expensive over time. The Proposed Consent Judgment

 also contemplates that consumer payments      will be deposited into a single escrow     account that


 would not necessarily segregate funds and that would be controlled by the Trusts' purported

 representatives, who could, in turn, use the funds at their discretion. It is similarly not clear from

 the proposed Consent Judgment whether the flow of money directly into an escrow account

 would even enable the servicers to credit consumers' accounts through the system of record at

 the time that consumers make their payments. Each of these items is an example of how the

 proposed Consent Judgment's provisions could also harm consumers. For all of these reasons,

 the Court should grant TSI's Motion to Intervene and decline to enter the Proposed Consent

 Judgment.

                                   THE CONFLICTING ORDERS

         TSI and the CFPB entered into a negotiated Consent Order (the "TSI Consent Order")

 that was signed and executed on September 15,20L7; this concluded an investigation into the

 services TSI,s Attorney Network business unit, which engages law firms to collect on defaulted

 private student loans, provided to the Trusts. The TSI Consent Order includes specific injunctive

 provisions, including that TSI:

         .    provide reports about collections lawsuits to the successor special servicer;

         .    Provide account-level detail to the successor special servicer;

          o   Provide loan information to the successor special servicer;


  Owners, LLC et al.,Case No. L:L6-cv-01826-CCC (M'D' Pa')'
                                                    4
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 23 of 47 PageID #: 251
  Case j-:j-7-cv-01323-cMs Document 9 Filed O9l22lL7 Page 5 of 15 PagelD #: 87




        ¡     Confer with the successor special servicer regarding pending collections
              lawsuits, including whether to withdraw pending lawsuits;

        o     Confer with the successor special servicer regarding directions to law firms;

        o     Confer with the successor special servicer regarding disclosures in connection
              with collection of debt owned by the Trusts;

        .     Submit a compliance plan to the CFPB that includes written policies and
              procedures.

 Thus, TSI's interactions under the TSI Consent Order are with the successor special servicer

 (U.S. Bank), not with the Trusts themselves.

        On September L8, 2017, the CFPB filed a Complaint against the Trusts, alleging

 violations   of the   Consumer Financial Protection Act's (CFPA) prohibitions against unfair,

 deceptive    or   abusive acts and practices (UDAAP; see             12 U.S.C. $$ 553L,           5536).


 Contemporaneously, the CFPB filed a motion to enforce a Proposed Consent Judgment (D.I. 3)

 the Bureau purportedly had entered into with the "Trusts." No prior notice of the existence of the

 Proposed Consent Judgment was given to TSI, even though TSI spent months negotiating the

 TSI Consent Order with the same Bureau attorneys. The Proposed Consent Judgment differs

 materially from the TSI Consent Order, including that it:

              a                               - and not the successor special servicer - will
                   Contemplates that the Trusts
                   interact with the Trusts' servicers, including TSI, to implement the
                   injunctive provisions. (It should be noted that paragraph 5 of the TSI
                   Cãnsent Oider states that "[t]he Trusts do not have any employees and all
                   actions taken by the Trusts in connection with loan servicing and all
                   actions taken by the Trusts in connection with loan servicing and
                   collecting Debt are carried out by third parties. Thus, it is unclear how the
                   Trusts will effectuate the conduct provisions in the Proposed Consent
                   Judgment.);

               a   Contemplates different affidavit-related policies and procedures than those
                   in the TSI Consent Order;


                                                     5
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 24 of 47 PageID #: 252
  Case i-:i-7-cv-01323-GMS Document 9 Filed O9l22lI7 Page 6 of 1-5 PagelD #: 88



           a     Contemplates that the Trusts   will instruct the "Primary Servicer" to cease
                 transferring any debt to "the Special Servicer and any Subservicer" and
                 instead 'oretain possession of the Debt pending approval and
                 implementation" of a compliance plan (which is to be prepared by the
                 Trusts and thus is different than the plan to be provided by TSI under the
                 TSI Consent Order);

           a     Contemplates the cessation of "collection efforts" pending approval of the
                 Trusts' compliance plan;

           a     Contemplates that all payments will be remitted to a single escrow account
                 designated by the Trusts (or, presumably, the entity purporting to represent
                 the Trusts);

            a    Contemplates an "independent audit" to be overseen by the Trusts (or the
                 entity purporting to represent the Trusts) of all loans owned by the Trusts,
                 with reports to be provided to the Trusts and the CFPB (and not to the
                 successor special servicer or to any ofthe Trusts' servicers);

                                        ooBoard" of the Trust will have the responsibility for
            a    Contemplates that a
                 overseeing the Trusts' implementation of the conduct provisions, when it
                 is not clear that the Trusts have a 'oBoard," let alone one that is authorized;
                 and

            .    Apparently contemplates that, for certain borrowers, the Trusts will refrain
                 from "furnishing reports on the Debt in question, except as otherwise
                 required by this Order."

        Thus, the TSI Consent Order and the Proposed Consent Judgment are materially

 inconsistent   in that they contemplate different        supervisory and reporting structures and they

 contemplate the implementation of different policies, procedures, and relief.

        Finally, there is a threshold question as to whether the Court has subject matter

 jurisdiction to entertain the CFPB's motion. Specifically, the Bureau's authority to assert

 UDAAP claims, as       it   does here, arises only   if   the Trusts are oocovered persons" within the

 meaning of the CFPA, the Bureau's enabling statute. The Bureau's Complaint avers that the

            oocovered person[s]," under 12 U.S.C.
 Trusts are                                       $ 54S1(6), because they have "engaged in"
 o'servicing loans, including acquiring, purchasing, selling
                                                                   [or] brokering" of debt.   See   D.I.   \
                                                      6
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 25 of 47 PageID #: 253
  Case I:L7-cv-0L323-cMS Document 9 Ftled O9l22lL7 Page 7 oÍ t5 PagelD #: 89



CFPB Compl. at 118. But the Complaint and the Proposed Consent Judgment expressly

enumerate those entities that service the loans    in the NCSLT portfolio; indeed, the Trusts   are


expressly distinguished from those servicing       entities. Moreover, as noted above, the TSI

Consent Order expressly states that the Trusts have no employees and carry out servicing

functions through third parties. See supra at   5.   The CFPA does not intend for the definition of

 "covered persons" to extend to entities with no employees that hold debt through securitization

 and conduct their servicing and collection activities through third parties. Indeed, other
                                                                          o'covered person" within
 provisions of the CFPA that define other activities that make an actor a

 the meaning of the CFPA make this clear. See, e.g,12 U.S.C. $ 5481(15).

        And   if   the Trusts are not "covered persons," then the Court has no subject matter

jurisdiction as to this matter. Specifically, the Bureau's Complaint alleges that its authority to

 pursue UDAAP claims under the CFPA confers federal question jurisdiction in this mafter' See

 D.I. L, CFPB Compl. at f4 (referencing federal consumer financial law, which, as here, is       the


 prohibition against UDAAP, referenced in L2 U.S.C. $$ 5531, 5536). And UDAAP claims can
                                                                     oocovered persons"   within the
 only be brought against entities that are expressly defined as

 meaning of the CFPA. See !2 U.S.C. $$ 5531, 5536. If the Trusts are not "covered persons,"

 this matter must be dismissed in its entirety, with prejudice.




                                                     7
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 26 of 47 PageID #: 254
  Case L:I7-cv-OL323-cMS Document 9 Filed O9l22lL7 Page I of 1-5 PagelD #: 90



                                               ARGUMENT

          I.      TSI IS ENTITLED TO INTERVENE BY RIGHT IN THIS ACTION

          Federal Rule of   Civil   Proce dure 24 governs intervention   in pending federal actions.    See


 Fed. R.    Civ.P,24. Under Rule 24, a Court         must permit a third party to intervene as of right

 where the third party "claims an interest relating to the property or transaction that is the subject

 of the action, and is so situated that disposing of the action may as a practical matter impair or

 impede the movant's ability to protect its interest, unless existing parties adequately represent

 that interest." Fed. R. Civ. P.za@)Q); see Endoheart AG v. Edwards Liþsciences Corp.,No.

 1.:14-CY-L473, 201.5     WL 6956603, at *1 (D. Del. Nov. 6,             201'5).   A   third party should   be


 permitted to intervene as of right      if it establishes that "(1) its application for leave to intervene

 was timely; (2) it has a sufficient interest in the litigation; (3) there is a threat that that interest

 witl   be impaired or affected, as a practical matter, by the disposition of the action; and (4) there is

 inadequate representation      of this interest by the existing parties in the litigation." Advanced
                                                                           *1 n.1 (D. Del.
 Dynamic Interføces, LLC v. AderasInc., No. 1.:12-CY-963,2013WL6989428, at

 Jan. LL, 2OL3) (citing Kleissler v. U.S. Forest Serv., 157 F.3d 964, 969 (3d Cir. 1998). An

 intervention by right must be permitted where warranted. S¿e Fed. R. Civ. P.24; Brody By and

 Through Sugzdinis v. Spang, 957 F.2d 1"L08, 1L1,5 (3d Cir. 1,992)). The non-conclusory

 allegations set forth    in a motion to intervene are accepted as lrue. See Endoheart,2015 WL

  6956603, aI *2 & n.2.

           A. TSI's Motion To Intervene Is Timely
           A court considers the following factors when determining timeliness: "(l) the stage of the

 proceeding; (2) the prejudice that delay may cause the parties; and (3) the reason for the delay."

 MountainTop Condo. Ass'nv. Dave Stabbert Master Builder, Inc.,72 F.3d 361",369 (3d Cir.

                                                        8
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 27 of 47 PageID #: 255
  Case L:l-7-cv-01-323-GMS Document 9 Filed 091221L7 Page 9 of L5 PagelD #: 91



 1995). This action was commenced on September 1-8, 2017, a mere four days                 ago.     No


 scheduling conference has occurred. Given the very early stages of the proceeding, there is no

 delay and certainly no prejudice from any purported delay. There can be no legitimate dispute

 that TSI's Motion is timely.

        B. TSI Has A Sufficient Interest In The Property And Transactions At Issue In
           This Litigation, And Those Interests May Be Impaired Or Impeded If The
            Consent Judgment Is APProved

        A third party has a sufficient interest in the subject of litigation       when there is     a


 "significantly protectable" legal interest in the property or transaction at issue. Mountain Top,72

 F.3d at 366. "[I]ntervenors should have an interest that is specific to them, is capable of

 definition, and will be directly affected in a substantially concrete fashion by the relief sought."

 Kleissler, L57 F.3d at 972. To determine whether an intervenor's interests may be impaired or

 impeded, a court assesses "the practical consequences of the litigation" and "considerfs] any

 significant legal effect" on the interests. See Brody by and Through Sugzdinis v. Spang, 957 F.2d

 II08, LI22 (3d Cir. tgg2).     Contesting provisions    in a consent order that affect contractual

 obligations is recognized as a sufficient interest warranting intervention      in this Circuit.   See


 EEOC v. Opportunity Comm'n v. Am. Tel. & Tel. Co.,506 F.2d 735,739 (3d Cir. L974).

         TSI's interest in this matter is significant. First, if the Court enters the Proposed Consent

 Judgment, there   will be two consent orders with irreconcilable provisions. As described     above,


 the TSI Consent Order and the Proposed Consent Judgment are materially inconsistent and

 envision the implementation of different relief and, critically, subject TSI to different oversight

 regimes.

         Additional complications arise in connection with the Compliance Plans required under
                                                                             o'any Subservicer"
  the two orders. The Proposed Consent Judgment directs the Trusts to Direct

                                                   9
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 28 of 47 PageID #: 256
 Case 1:j-7-cv-01-323-GMS Document 9 Filed O9l22lL7 Page L0 of 15 PagelD #: 92



(and TSI is a subservicer) to suspend collection efforts on all debt owned by Defendants until               a


Compliance Plan that the Trusts must provide to the CFPB is approved and implemented. (D.I. 3-

1   11   16). Here   again TSI may be caught between a rock and a hard place           if it   submits its own

Compliance Plan, which the Bureau will accept (and which is due before the Trusts' Compliance

Plan), but the Trusts submit a conflicting or more onerous Compliance Plan that affects the exact

same      activities. Delaware law does not allow for the type of business uncertainty and confusion

these conflicting orders would create. See, e.g., Stroud v. Grace, 606 A.2d 75, 87 (Del. 1992)

 (noting that certainty is a key policy consideration in corporation law).

            Second, TSI has a substantial economic interest          in this matter that may be impeded or

 impaired     if   the Proposed Consent Judgment is accepted. The Proposed Consent Judgment

 requires the Trusts to direct the Primary Servicer to "cease transferring any Debt to the Special

 Servicer and any Subservicer" (again, TSI is a subservicer) and to instead retain possession of all

 debt pending approval and implementation of a Compliance Plan. See D.I. 3-1                     f 16. It also
 directs the Trusts to direct 'oany Subservicer" to suspend collection efforts on all Debt owned by

 the Trusts until the Compliance Plan is approved and implemented. See id. The Compliance

 plan will not be approved and implemented for at least four months from the date of execution.

 See     id. fl 28 (giving the Trusts L20 days to submit the Compliance Plan), fl 29 (detailing

 procedure for submitting revised Compliance Plan              if it is not accepted by the Bureau). Thus, for

 at least four months, and likely longer, TSI cannot engage in any collection efforts on behalf of

 the Trusts.       If implemented, this provision   -   which was not proposed or included by the Bureau

 in the Consent Order it negotiated with TSI            - undoubtedly will cause TSI substantial       financial

 loss, even as TSI is not a party to this Proposed Order.




                                                          10
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 29 of 47 PageID #: 257
 Case l-:i-7-cv-01-323-cMS Document 9 Filed 091221L7 Page 1-1 of 1-5 PagelD #: 93



        c.    The Existing Parties Do Not Adequately Represent TSI',s Interests
                                                                                           oovaries
        The inquiry into whether representation is inadequate is flexible and                         with   each


 case." Kleissler,157 F.3d at 972. The CFPB does not represent TSI's interests. Nor do the

 purported representatives of the Trusts. VCG, whose attorneys signed the Proposed Consent

 Judgment on behalf      of the Trusts,     does not necessarily represent the Trusts' interests (see

 Ambac's Motion to Intervene,D.L 4 at 7), nor does it represent TSI's interests. VCG's desire to

 have its affiliate serve as the Trusts' servicer, alone, renders VCG      -   and the Trusts   it purports to

 speak for   - unsuited to represent   TSI's interests in this matter.

        Because TSI overwhelmingly satisfies          all of the requirements for intervention by right

 under Rute 24(a), TSI's Motion to Intervene must be granted.3

        il.       THE CFPB'S CONSENT JUDGMENT IS NEITHER FAIR NOR
                  REASONABLE AND SHOULD NOT BE APPROVED

        Proposed consent judgments "are at once both contracts and orders; they are construed

 largely as contracts, but are enforced as orders." Bergerv. Heckler,77tF.2d 1556, 1568-69 (2d

 Cir. 1985). Before approving entry of a proposed              consent judgment,        a district court must

 independently review the negotiated consent decree to ensure            it is "fair,   adequate, reasonable,

                                                                                  *L (D.N.J.
 and in the public interest." See F.T.C. v. Circa Direct LLC, 2012 WL 2L78705, at



 3       To the extent the Court finds that permissive intervention is more appropriate here, TSI
 easily fulfills the requirements under Rule 24(b). Permissive intervention is allowed when a
 third party "has a claim or defense that shares with the main action a common question of law or
 fact." Fed. R. Civ. P.24(bxl)(B);Unitedstatesv.Tenitory of V.L,748F.3d,514,524 (3d Cir.
  201,4). In exercising its discretion in allowing a permissive intervention, a court's "central
 consideration'o is 'owhether allowing intervention will cause delay or prejudice." Bell Atl.-Del.,
 Inc. v. GlobalNlPs 5., Inc.,77 F. Supp.2d 492,502 (D. Del. 1999); see also Fed. R. Civ. P.
 24(bX3) (court must consider "whether the intervention will unduly delay or prejudice the
 adjudication of the original parties' rights"). As explained above, TSI shares claims with
 common questions of fact or law with the main action, and given the early stages of this matter
 there is no delay or prejudice to the parties.
                                                       tl
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 30 of 47 PageID #: 258
 Case L:17-cv-01-323-GMS Document             9   Filed O9l22lL7 Page 12 oI LS PagelD #: 94




 June L3, 2012) (citing F.T.C. v. StandardFin. Mgmt. Corp.,830 F.2d 404,408 (1st Cir. 1987)

 ("When a public agency requests that ajudicial stamp of approval be placed on a negotiated

 consent decree ... [t]he court, rather than blindly following the agency's lead, must make its own

 inquiry into the issue of reasonableness before judgment") (internal quotations omitted))).

         In recent years,   courts have reduced their analysis to whether a proposed consent

 judgment is both fair and reasonable. See S.E.C. v. Citigroup Glob. Markets, [nc.,752F.3d285,

 294 (2d. Cir. 20t4); United States v. Peterson, 859 F. Supp. 2d 477, 478 (E.D.N.Y. 2012)             ("A

 district court has the duty to determine whether a consent decree based on a proposed settlement

 is fair and reasonable."). To determine whether a proposed consent judgment          is,   both fair and

 reasonable, courts assess:   "(1) the basic legality of the decree, see Beniamin v. Jacobson, I72

 F.3d 144, 155-59 (2d Cir. 1999)"; (2) whether enforcement mechanisms and other terms                  are


 cIeat, see, e.g., Angela   R. ex rel. Hesselbein v. Clinton, 999 F.zd 320, 325 (8th Cir. t993)

 (finding abuse of discretion when lower court approved consent decree that failed to properly

 define enforcement mechanisms); (3) "whether the consent decree reflects a resolution of the

 actual claims   in the complaint"; and (4) "whether the consent     decree   is tainted by improper

 collusion or corruption of some kind." Citigroup Glob. Mørkets,752 F.3d at 294.                 court will
                                                                                             ^
 decline to enter a consent judgment   it determines to be unfair or unreasonable.   See, e.g., Clinton,


 999 F.2d aT 325. Here, the Proposed Consent Judgment is neither fair nor reasonable.

                 A.   The Proposed Consent Judgment Could Harm Consumers

         As explained above, the Proposed Consent Judgment includes numerous provisions that

 may expose consumers to harm. For example, the Proposed Consent Judgment contemplates a

 simultaneous bar on collection activities and servicer communication with borrowers, which

 risks consumer confusion regarding the terms of the two consent orders and their effects on

                                                  T2
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 31 of 47 PageID #: 259
 Case l-:17-cv-01-323-GMS Document 9 Filed O9l22lL7 Page 1"3 of 1-5 PagelD #: 95



 individual account-holders.   If   interest continues to accrue during the period that collection

 activity is frozen, borrowers' loans may become more expensive. And, the Proposed Consent

 Judgment's contemplated single escrow account construct, which           is to be overseen by   the


 disputed representatives of the Trust, presents a risk that those representatives may abuse their

 unfettered control over the escrow funds while simultaneously denying consumers credit for

 those escrowed payments.

                B. The Proposed Consent Judgment Would Impose Conflicting Directives
                   On TSI, And Is Therefore Unfair And Unreasonable

        As discussed supra, should the Court approve the Proposed Consent Judgment, TSI will

 be held to conflicting consent orders with irreconcilable provisions demanding compliance.

 Placing TSI in such a predicament, when      it negotiated   and executed a Consent Order   with not

 only the same agency but the same attorneys at the agency that contemporaneously announced         a


 conflicting Proposed Consent Judgment with another entity, is precisely the type,of unfairness

 and unreasonableness that reviewing district courts seek to avoid. See Standard Fin. Mgmt.

 Corp.,830 F.2d at 408.

                C. The Proposed Consent Judgment Is Unfair And Unreasonable Because
                   The Purported signatory for Defendants Lacks The Authority To Bind
                    Certain Named Trusts

        The Proposed Consent Judgment indicates McCarter & English as the purported signatory

 for Defendants. However, as previously discussed, whether McCarter & English and their client

 were authorizedto enter into the Proposed Consent Judgment on behalf of Defendants is a hotly

 disputed issue. See Ambac Mot. To lntervene,      D.I.4 at 8. It would be unfair   and unreasonable


 to the other interested parties, including TSI, for the Court to approve a       Proposed Consent




                                                   T3
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 32 of 47 PageID #: 260
  Case L:L7-cv-0L323-GMS Document               9   Filed 091221L7 Page L4 ol15 PagelD #: 96




 Judgment that was negotiated and executed by a party with dubious authority. See Citigroup

 G   lob. Markets, Inc., 7 52 F.3d at 294.

                                                CONCLUSION

          For these reasons, TSI respectfully requests the Court grant its Motion to Intervene and

 Deny Plaintiff s Motion to Approve Consent Judgment.




                                         Oral Hearins Requested

           Pursuant to Local Rule 7.1.4, TSI respectfully requests an oral hearing on this Motion.

 Dated: September 22, 2017

                                                 Respectfully submitted,

                                                 lsl Jamie L.
                                                 Jamie L. Edmonson (No. 4247)
                                                 VENABLE LLP
                                                 1201" N. Market Street
                                                 Suite 1"400
                                                 Wilmington, DE L980L
                                                 Phone: (302)298-3535
                                                 Fax: (302) 298-3550
                                                 JlEdmonson@venable. com

                                                 Allyson B. Baker Qtro hac vice to be filed)
                                                 Meredith L. Boylan Qtro hac vice to be filed)
                                                 Sameer P. Sheikh Qtro hac vice to be filed)
                                                 Katherine M. Wright Qtro hac vice to be filed)
                                                 VENABLE LLP
                                                 600 Massachusetts Ave., NW
                                                 Washington, DC 20001-
                                                 Phone: (202)344-4000
                                                 Fax: (202) 344-8300
                                                 ABBaker@venable.com
                                                 MLBoylan@venable.com
                                                 SPSheikh@venable.com
                                                 KMWright@venable.com

                                                 Counsel   for Intervenor Transworld   Systems Inc.


                                                    t4
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 33 of 47 PageID #: 261
  Case L:I7-cv-0I323-GMS Document             9   Filed   O9l22lt7 Page   1-5   of L5 PagelD #: 97



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 22d day of September, 2OL7 , a copy of the foregoing

 document was electronically filed with the court and served via CMÆCF, on parties with counsel

 of record identified on the Court's docket. A copy of the foregoing also has been sent via email

 to any party without a designated counsel of record currently identified on the Court's docket.




                                                                L. Edmonson
                                                          lsl .Iamíe
                                                       Jamie L. Edmonson




                                                  15
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 34 of 47 PageID #: 262
  Case L:17-cv-01-323-cMs Document 9-1- Filed 091221L7 Page L of 1 PagelD #: 98



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 Consumer Financial Protection Bureau,          )
                                                )      Civil Action No.:   L:17 -cv-0L323-GMS
                         Plaintiff,             )
                                                )             IPROPOSEDI
 V                                              )    ORDER GRANTING TRANS\ryORLD
                                                )    SYSTEMS' MOTION TO INTERVENE
 The National Collegiate Master Student         )    AND DENYING PLAINTIFF'S MOTION
 Loan Trust, et al.                             )    TO APPROVE CONSENT JUDGMENT
                                                )
                         Defendants             )


                 Upon review of the Motion to Intervene and Opposition to Plaintiffls Motion to

 Approve Consent Judgment by Transworld Systems Inc.'s ("TSI"); it is hereby

                 ORDERED that the Motion to Intervene is GRANTED; and it is further

                 ORDERED that TSI may intervene in this matter pursuant to Fed. R. Civ. P.

 24; and it is further

                 ORDERED that Plaintiff    s   Motion to Approve Consent Judgment is DENIED




 Dated:


                                                          Hon. Gregory M. Sleet, U.S.D.J.
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 35 of 47 PageID #: 263




                       EXHIBIT B
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 36 of 47 PageID #: 264
   Case L:L7-cv-0L323-GMS Document              I   Filed O9l22lL7 Page L ot 2 PagelD #:                 81-


                                                                              David M. Fry


SHA\í KTLLER                                                                  l.M. Pei Building
                                                                              1105 North Market Street, 12th Floor
                                                                              Wilmington, DE 19801
                                                                              (302) 298-070s
                                    LLP                                       df ry@ shawke lle r.co m




                                         September 22,2017

 BY CMÆCF
 The Honorable Gregory M. Sleet
 U.S. District Court for the District of Delaware
 844 N. King Street
 Wilmington, DE 19801
                Re:     Consumer Financial Protection Bureau v. The National Collegiate
                        Mastcr Stu.d.cn.t Lonn. Tnt..ct et o.l. . C.A. No. 17-1323

 Dear Judge Sleet:

        I write on behalf of U.S. Bank National Association ("U.S. Bank")o in connection with
 the above-captioned action (the "Action").

          U.S. Bank serves as Indenture Trustee for the Indentures established for the debt
 securities that were issued by each of the defendants in the Action, fifteen discrete National
 Collegiate Student Loan securitizationtrusts (the '.NCSLTs"). In addition, upon the resignation
 of the original Special Servicer in2012, U.S. Bank also assumed the role of Successor Special
 Servicer for each of the NCSLTs.

         At the time of filing the Action, plaintiff Consumer Financial Protection Bureau also
 moved for court approval of a proposed Consent Judgment against the NCSLTs. The economic
 interests and contractual rights of noteholders of each of the debt securities will be affected by
 entry of the proposed Consent Judgment. In addition, both as Indenture Trustee and as
 Successor Special Servicer, U.S. Bank's contractual responsibilities will be affected if the
 proposed Consent Judgment is approved.

         On September 20,2017, Ambac Assurance Corp. ("Ambac") moved to intervene and to
 request a briefing schedule (D.I. 4) to enable all interested parties to be given an opportunity to
 participate in the Court's consideration of whether to approve the proposed Consent Judgment.
 And on September 21, Transworld Systems Inc. submitted a letter to the Court indicating that it
 intended to intervene and oppose issuance of the proposed Consent Judgment.

         Since the filing of the Action earlier this week, U.S. Bank, as Indenture Trustee, has
 notified holders ofthe related debt securities issued pursuant to each Indenture ofthe proposed
 Consent Judgment. U.S. Bank believes that noteholders may provide instructions to U.S. Bank
 as Indenture Trustee to participate in the approval process, and also that some may seek to
 participate directly.

         There are numerous third parties whose economic and contractual interests would be
 directly affected by the Court's entry of the proposed Consent Judgment. Ambac's request for                  a
 defined briefing schedule would provide for an orderly approval process that in U.S. Bank's
 view would serve the public interest.
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 37 of 47 PageID #: 265
   Case L:1-7-cv-01-323-GMS DocumentB FiledO9l22lL7 Page 2ot2 PagelD#: 82

Snnuø KrUER        r-r-p
The Honorable Gregory M. Sleet
Page2

                                                  Respectfully,

                                                  lsl David M. Fry
                                                  David M. Fry (No. 5a86)
 cc:    All   Counsel of Record (via e-mail)

 Carolyn Hahn, counsel for Plaintiff Consumer Financial Protection Bureau (via ECF)
 Daniel Silver, counsel for National Collegiate Student Loan Trusts (via email)
 James Kosch, counsel for National Collegiate Student Loan Trusts (via email)
 Todd C. Shiltz, counsel for Intervenor Ambac (via ECF)
 Allyson B. Baker, counsel for Transworld Systems Inc. (via email)
 Jamie Edmonson, counsel for Transworld Systems Inc. (via ECF)
 Stephen H. Meyer, Sullivan & Cromwell, LLP, counsel for U.S. Bank National Association
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 38 of 47 PageID #: 266




                       EXHIBIT C
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 39 of 47 PageID #: 267
 Case L:1"7-cv-01-323-cMs Document l-L Filed 09122117 Page l- of 5 PagelD #: IO2



                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 CONSUMER FINANCIAL PROTECTION
 BUREAU,                                                    No. L7-CV-01323 (GMS)

                               Plaintiff,

                  v

 THE NATIONAL COLLEGIATE MASTER
 STUDENT LOAN TRUST, et al.,

                               Defendants.



                NOTICE OF APPEARANCE BY OB.IECTING
           NOTEHOLDERS AND REOUEST TO INTERVENE FOR THE
  LIMITED PURPOSE OF OB.IECTING TO THE PROPOSED CONSENT JUDGMENT
          PLEASE TAKE NOTICE that Andrew D. Cordo of Ashby & Geddes, PA, 500 Delaware

 Ave., P.O. Box LL50, Wilmington, Delaware 19899, hereby appears on behalf of: Waterfall

 Eden Master Fund, Ltd., Waterfall Delta Offshore Master Fund, LP, Waterfall Sandstone Fund,

 LP., Baldr Sherwood Fund, Inc., One William Street Capital Master Fund, Ltd., OWS ABS

 Master Fund II, L.P., OWS COF I Master, L.P., OWS Credit Opportunity      Ï,LLC,   and OWS

 Global Fixed Income Fund (USD-Hedged), Ltd., LibreMax Master Fund, Ltd., LibreMax Value

 Master Fund, Ltd.. LibreMax MSW Fund, Ltd., AG Mortgage Value Partners Master Fund, L,P.,

 AG TCDRS,L.P.,AG Pisgah, L.P., AG Super RMBS LLC, and AG Opportunistic Whole Loan

 Select, L.P. (together, the "Objecting Noteholders"). The Objecting Noteholders collectively

 own notes (the "Notes") with an aggregate face amount of approximately $L.4 billion, and hold

 Notes issued by each of the defendant Trusts (the "Trusts").

          Thc Objecting Noteholders hereby move to intervene for the limited purpose of objecting

 to the Proposed Consent Judgment filed on September 18,2017 (the "Proposed Order") by




 {0t246657;vl )
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 40 of 47 PageID #: 268
  Case L:l-7-cv-01323-cMs Document                   1l-   Filed 091221L7 Page 2 oÍ 5 PagelD #:           1-03




 plaintiff Consumer Financial Protection Bureau ("CFPB"), Dkt. 3-1. The Objecting Noteholders

 hereby   join in the requests by Ambac Assurance Corporation            (ooAmbac"), Dkt. 4, Transworld

 Systems Inc., Dkt. 6, and GSS Data Services, Inc., Dkt. 7, that the Court refrain from entering

 the Proposed Order until all interested parties, including but not limited to the Objecting

 Noteholders, have received notice of the Proposed Order and have been afforded the opportunity

 to be heard on critically important issues impacting the Trusts.

                     The Obiectine Noteholders Should Be Granted Leave to Intervene

          A nonparty should be granted leave to intervene where: (i) its apptication for

 intervention is timely; (ii) it has a sufficient interest in the litigation; (iii) the litigation threatens

 to impair or affect the nonparty's interest; and (iv) the existing parties to the litigation do not

 adequately represent the interests of the nonparty. See, e.g., Kleissler v. U.S. Forest Svc.,1,57

 F.3d 964 (3d Cir. 1998).1

           Inasmuch as this action was commenced earlier this week and assigned to this Court just

 two days ago, the Objecting Noteholders' application is timely. Intervention at this stage of the

 proceedings         will not cause prejudice to any party and will   not unduly delay the proceedings.

           The Objecting Noteholders have an interest in this litigation by virtue of their ownership

 of Notes. See Lansuppe Feeder, LLC v. Wells Fargo Bank, NA ex rel. Soloso CDO 2005-1 Ltd.,

 2015 WL 6455274, at **3-4 (S.D.N.Y. Oc|.26,201,5) (granting motion to intervene by holders

 of notes issued by trust). The Proposed Order would impose a substantial -- and potentially

 irreparable -- injury on the Objecting Noteholders. As a preliminary matter, the Proposed Order

 contemplates that the Trusts, whose assets back and guarantee repayment on the Notes, pay at



 1     Virtually all of the grounds for intervention applicable to Ambac (and set forth in
 Ambac's Motion to Intervene and Request for Briefing Schedule, Dkt. 4), apply with equal force
 to the Objecting Noteholders.

 101246651;v1.   I                                         2
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 41 of 47 PageID #: 269
     Case L:L7-Iv-OL323-GMS Document            lL       Filed 091221L7 Page 3 of 5 PagelD #: L04




 least $19.1 million in civil penalties and other amounts and bear the costs of extraordinary audits

 and compliance    efforts. More fundamentally, the Proposed Order threatens to vitiate the

 Objecting Noteholders' rights under the agreements governing the Trusts, including the

 Indentures. For example, the Proposed Order jeopardizes the payment of principal and interest

 to Noteholders under the Indentures by, among other things: (i) requiring that the Trusts direct

 the Special Servicer2 and any Subservicer to cease all collection efforts related to the Trusts'

 underlying assets (student loans); (ii) establishing an "escrow" account for all monies received

 by the Trusts, including monies received in the ordinary course and therefore wholly unrelated to

 the conduct addressed by the Proposed Order; and          (iii) replacing   the priority of payments under

 the lndenture with a compliance regime that permits a self-interestedooBoard" acting

 (purportedly) on behalf of the Trusts to determine what amounts, if any, are paid to Noteholders.

           Stated simply, the contracts governing the rights of Noteholders should not (and cannot

 be) rewritten without -- at an absolute minimum -- first affording Noteholders a full and fair

 opportunity to be heard.

           Lastly, neither CFPB nor the Trusts adequately represent the interests of the Objecting

 Noteholders in connection with the Proposed Order. In the Proposed Order, CFPB seeks to

 impose upon the Trusts various fees and penalties, and to institute a compliance scheme that, as

 set forth above, threatens the Objecting Noteholders' core interests. The Trusts may only act

 through their service providers, and as more fully set forth in Ambac's motion, Dkt.           4: (i) it is

 not entirely clear at this point what person or entity is acting on behalf of the Trusts; and (ii)

 whether the person or entity acting for the Trusts actually has the authority to do so.        If the entity




 '      Cupitalized terms not defined herein shall have the meaning ascribed to them in the
 Proposed Order.
                                                     a
 {01246657;v1. }                                     ^')
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 42 of 47 PageID #: 270
  Case 1-:1-7-cv-01323-GMS Document                  1l-   Filed O9l22lL7 Page 4 of 5 PagelD #: 105



 purporting to act on behalf of the Trusts with respect to the Proposed Order is VCG Securities,

 LLC and/or its affîliates ("VCG"),3 VCG lacks the authority to do so. Also, VCG does not

 represent the interests of the Objecting Noteholders. VCG, the Trusts' equity owner, has sought

 to enrich itself personally by, among other things, appointing VCG affiliates to lucrative

 positions servicing the Trusts, and restructuring the Trusts' servicing agreements to allow VCG's

 affiliates to acquire the Trusts' loans at a discount. VCG's wrongful attempt to appoint an

 affiliate to service loans held by the Trusts without obtaining the required approval of

 noteholders is currently the subject of ongoing litigation in this Court, in which certain of the

 Objecting Noteholders have challenged VCG's actions.a

                                                    Conclusion

           For the reasons set forth above, the Objecting Noteholders respectfully request that the

 Court grant them leave to intervene for the limited purpose of objecting to the Proposed Order,

 and to refrain from granting the CFPB Motion and approving the Proposed Order until such time

 as the Objecting Noteholders and          all other interested parties have been given notice and an

 opportunity to intervene and/or otherwise be heard.




 ¡         VCG is the ultimate beneficial owner of the overwhelming residural equity interests in the
 Trusts.
 a         See       In the Matter of the National Collegiate Student Loan Trusts 2003-1, 2004-1, 2004-2,
 2005-1, 2005-2, and 2005-3, C.A. No. 16-342-SLR (D. Del.).

 {01246657;v1.   )                                         4
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 43 of 47 PageID #: 271
  Case l-:17-cv-0L323-cMs Document l-1 Filed O9l22lL7 Page 5 of 5 PagelD #: 1-06



                                       ASHBY & GEDDES, PA

  Of counsel:                          lsl Andrew D. Cordo
  Michael Hanin                        Andrew D. Cordo (#4534)
  Kasowitz Benson Torres LLP           500 Delaware Ave. 8th Floor
  1-633 Broadway                       P.O. Box 1"1"50
  New York, New York 10019             Wilmington, Delaware 19899
  Tel: (2I2) 506-1788                  Tel: (302) 654-1888
  mhanin@kasowitz.com                  acordo@ashby-geddes.com

  Henry Brownstein                     Attorneys   for   the Objecting Noteholders
  Kasowitz Benson Torres LLP
  1399 New York Ave., NW
  Washington, D.C. 20005
  Tel (202)760-3403
  hbrownstein@kasowitz. com

 DATED: September 22, 20L7




 {01246657;v1. }                       5
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 44 of 47 PageID #: 272




     IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
THE NATIONAL COLLEGIATE                      )
STUDENT LOAN MASTER                          )
TRUST, et al.,                               )
                                             )
                  Plaintiffs                 )
                                             )
         v.                                  )     Case No. 12111-VCS
                                             )
PENNSYLVANIA HIGHER                          )
EDUCATION ASSISTANCE                         )
AGENCY D/B/A AMERICAN                        )
EDUCATIONAL SERVICES,                        )
                                             )
                  Defendant.                 )
                  [PROPOSED] ORDER GRANTING NON-PARTY
                    GSS DATA SERVICES, INC.’S MOTION FOR
                 LEAVE TO FILE OPPOSITION AS AMICUS CURIAE

         Upon Non-Party GSS Data Services, Inc.’s Motion for Leave to File

Opposition as Amicus Curiae (“Motion”), the Court having considered the Motion,

as well as the papers filed in support thereof; and having heard and considered the

arguments of counsel;

         IT IS HEREBY ORDERED, this ____ day of September 2017, as follows:

         1.       The Motion is hereby GRANTED.

         2.       Non-Party GSS Data Services, Inc. has leave to file the Opposition

attached to the Motion upon entry of this Order.




                                    The Honorable Joseph R. Slights III

{1110.002-W0048780.}
Case 1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 45 of 47 PageID #: 273




                           CERTIFICATE OF SERVICE

         I, Rebecca L. Butcher, Esquire hereby certify that on September 25, 2017, a

true and correct copy of the foregoing Motion for Leave to File Opposition as

Amicus Curiae was caused to be served on the following counsel in the manner

indicated:

Via File & ServeXpress                      Via File & ServeXpress

Attorneys for Plaintiff                     Attorney for Defendant
Stuart M. Grant                             Stacey A. Scrivani
James J. Sabella                            STEVENS & LEE, P.C.
Michael T. Manuel                           919 Market Street, Suite 1300
GRANT & EISENHOFER P.A.                     Wilmington, DE 19801
123 Justison Street
Wilmington, DE 19801

Via File & ServeXpress                      Via File & ServeXpress

Attorneys for Interested Party U.S.         Attorneys for Intervenor Wilmington
Bank National Association                   Trust Company
John W. Shaw                                Stephen Brauerman
Jeffrey T. Castellano                       Sara Bussiere
SHAW KELLER LLP                             BAYARD, P.A.
300 Delaware Ave., Suite 1120               222 Delaware Avenue, Suite 900
Wilmington, DE 19801                        Wilmington, DE 19899



Dated: September 25, 2017                     /s/ Rebecca L. Butcher
                                              Rebecca L. Butcher (No. 3816)




{1110.002-W0048779.}
9/25/2017   Case     1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 46 of 47 PageID #: 274
            https://secure.fileandservexpress.com/WebServer/WebPages/FileAndServe/prcReviewSubmit.asp?doWhat=Confirm&nUserID=384581&nGrou…




                                                         File & ServeXpress Transaction Receipt

  File & ServeXpress Transaction ID: 61154771
  Submitted by:                        Erica Raucci, Landis Rath & Cobb LLP
  Authorized by:                       Rebecca L Butcher, Landis Rath & Cobb LLP
  Authorize and le on:                 Sep 25 2017 9:51AM EDT


  Court:                               DE Court of Chancery Civil Action
  Division/Courtroom:                  N/A
  Case Class:                          Civil Action
  Case Type:                           Breach of Contract
  Case Number:                         12111-VCS
  Case Name:                           CONF ORDER - The National Collegiate Student Loan Master Trust v. Pennsylvania Higher Education Assistance Agency d/b/a
                                       American Educational Services


  Transaction Option:                  File and Serve
  Billing Reference:                   1110.002


  Documents List
  7 Document(s)
  Attached Document, 5 Pages       Document ID: 80022295
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Motion                                                                             Public                           $1.25                   Yes
  Document title:
  Non-Party GSS Data Services, Inc.'s Motion for Leave to File Opposition as Amicus Curiae
  Attached Document, 11 Pages Document ID: 80022296
  Related Document ID: 80022295
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Opposition                                                                         Public                           $1.25
  Document title:
  Opposition of Non-Party GSS Data Services, Inc. to Plainti s' Motion for Emergency Relief
  Attached Document, 17 Pages Document ID: 80022297
  Related Document ID: 80022296
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Exhibits                                                                           Public                           $1.25
  Document title:
  Exhibit A to Opposition of Non-Party GSS Data Services, Inc. to Plainti s' Motion for Emergency Relief
  Attached Document, 3 Pages Document ID: 80022298
  Related Document ID: 80022296
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Exhibits                                                                           Public                           $1.25
  Document title:
  Exhibit B to Opposition of Non-Party GSS Data Services, Inc. to Plainti s' Motion for Emergency Relief
  Attached Document, 6 Pages Document ID: 80022299
  Related Document ID: 80022296
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Exhibits                                                                           Public                           $1.25
  Document title:
  Exhibit C to Opposition of Non-Party GSS Data Services, Inc. to Plainti s' Motion for Emergency Relief
  Attached Document, 1 Pages Document ID: 80022300
  Related Document ID: 80022295
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Proposed Order                                                                     Public                           $1.25
  Document title:
  [Proposed] Order Granting Non-Party GSS Data Services, Inc.'s Motion for Leave to File Opposition Amicus Curiae
  Attached Document, 1 Pages Document ID: 80022301
  Related Document ID: 80022295
  Document Type:                                                                     Access:                          Statutory Fee:          Linked:
  Certi cate of Service                                                              Public                           $1.25
  Document title:
  Certi cate of Service of Non-Party GSS Data Services, Inc.'s Motion for Leave to File Opposition as Amicus Curiae
   Expand All
      Sending Parties (1)
https://secure.fileandservexpress.com/WebServer/WebPages/FileAndServe/prcReviewSubmit.asp?doWhat=Confirm&nUserID=384581&nGroupID=1&…                        1/2
9/25/2017    Case     1:17-cv-01323-MN Document 13-5 Filed 09/26/17 Page 47 of 47 PageID #: 275
             https://secure.fileandservexpress.com/WebServer/WebPages/FileAndServe/prcReviewSubmit.asp?doWhat=Confirm&nUserID=384581&nGrou…

                 Party            Party Type         Attorney             Firm           Attorney Type
       GSS Data Services Inc Interested Party Butcher, Rebecca L Landis Rath & Cobb LLP Attorney in Charge

      Recipients (44)

            Service List (44)

            Additional Recipients (0)



      Case Parties




                                                                              Close



                                                                                                             Client Support
                                        About File & ServeXpress     Resource Center       FAQs                 1-888-529-7587
                                        Terms & Conditions      Privacy
                                        © 2017 File & ServeXpress, LLC. All rights reserved.                 support@ leandservexpress.com
                                                                                                                Chat Online




https://secure.fileandservexpress.com/WebServer/WebPages/FileAndServe/prcReviewSubmit.asp?doWhat=Confirm&nUserID=384581&nGroupID=1&…         2/2
